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CG: 2019R00835
JTW: 04.01.21
                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *
                                               *
                 v.                            *    CRIMINAL NO. 21-128- GLR
                                               *
ABDUL PEARCE,                                  *    (Hobbs Act Robbery, 18 U.S.C.
                                               *    § 1951(a))
                 Defendant                     *
                                               *
                                            *******

                                       INFORMATION

                                        COUNT ONE

       The United States Attorney charges that:

       On or about November 4, 2019, in the District of Maryland,

                                      ABDUL PEARCE,

did knowingly obstruct, delay, and affect commerce as that term is defined in Title 18, United

States Code, Section 1951, by robbery, as that term is defined in Title 18, United States Code,

Section 1951, in that the defendant unlawfully did knowingly take and obtain property consisting

of U.S. Currency, and store property, from the person and presence of employees of the GameStop

store, located at 2500 Boston Street, Baltimore, Maryland 21224, against the employees’ will by

means of actual and threatened force, violence, and fear of injury, immediate and future, to the

employees’ person by threatening serious physical injury and death to said employee, in violation

of Title 18 United States Code Section 1951(a).

18 U.S.C. § 1951(a)



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                               Jonathan F. Lenznerr
                               Acting United States Attorney


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Date




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